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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 ROBERT VALENZUELA,

          Plaintiff,                                         CASE NO. 8:19-cv-02181-JSM-CPT

 v.
                                                             Honorable Judge James S. Moody, Jr.
 AXIOM ACQUISITION VENTURES, LLC,

          Defendant.
                                                      /

      MOTION TO COMPEL DEFENDANT TO RESPOND TO DISCOVERY AND TO
                         PRODUCE DOCUMENTS

         NOW comes ROBERT VALENZUELA (“Plaintiff”), pursuant to Fed. R. Civ. P. 37 and

Local Rule 3.04, by and through his attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), and

hereby files this Motion to Compel Defendant to Respond to Discovery and to Produce

Documents, against AXIOM ACQUISITION VENTURES, LLC (“Defendant” or “Axiom”), and

as grounds therefore, states as follows:

      1. On August 29, 2019, Plaintiff filed his Complaint against Defendant alleging violations of

the Fair Debt Collection Practices Act (“FDCPA”). [Dkt. 1]. Thereafter, on September 25, 2019,

Defendant filed its Answer. [Dkt. 9]. In its Answer, Defendant denied liability under the FDCPA,

but Defendant admitted that it acts as a debt collector as defined by the FDCPA. Id. at 3.

      2. On October 17, 2019, this Honorable Court entered a Case Management and Scheduling

Order (“Scheduling Order”) [Dkt. 13]. Shortly thereafter, on October 25, 2019, Plaintiff’s counsel

served Plaintiff’s initial disclosures and discovery requests to Defendant’s counsel.




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    3. Defendant’s counsel delivered written responses to Plaintiff’s discovery requests by

November 20, 2019. Upon reviewing Defendant’s discovery responses, Plaintiff’s counsel

detected multiple deficiencies with Defendant’s answers and production.

    4. Subsequently, on December 13, 2019, Plaintiff’s counsel alerted Defendant’s counsel of

the aforementioned discovery deficiencies. Shortly thereafter, pursuant to Fed. R. Civ. P. 37 and

Local Rule 3.01, the parties’ attorneys met and conferred in good faith to discuss the discovery

issues outlined by Plaintiff.

    5. Rather than curing its deficient discovery responses and allowing the parties to uncover

necessary discovery, Defendant filed its early Motion for Summary Judgment (Defendant’s

Motion”) on January 13, 2020, even though over nine months remained before the close of

discovery. [Dkt. 14]. Defendant’s Motion was premised entirely on Defendant’s self-serving

assertion that it did not attempt to collect from Plaintiff.

    6. Plaintiff had to allocate time and resources to respond to Defendant’s Motion instead of

proceeding to ask this Honorable Court to intervene in the parties’ discovery dispute. Plaintiff filed

his response in opposition to Defendant’s Motion on February 10, 2020.

    7. Afterwards, this Honorable Court denied Defendant’s Motion on March 6, 2020.

Defendant continues to refuse to address the discovery deficiencies outlined by Plaintiff’s counsel.

                            DISCOVERY REQUESTS, OBJECTIONS, AND
                           REASONS THE MOTION SHOULD BE GRANTED

   Plaintiff’s First Set of Interrogatories (Attached Hereto in its Entirety as Exhibit “A”)

INTERROGATORIES

14. INTERROGATORY: Identify any system, computer software, application, or other form of
technology used by You or any third parties to generate the collection letters You sent to Plaintiff.

RESPONSE: Objection. Axiom first objects to Plaintiffs characterization of the correspondence
at issue in this case it as a "collection letter" because it was not an attempt to collect Plaintiffs


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Account. Axiom also objects to this Interrogatory on the basis that it seeks information that is
neither relevant nor proportional to the needs of the case. The sole issue for determination in this
case is whether Axiom violated the FDCP A by neglecting to identify itself as a "debt collector"
and provide disclosures required by 15 U.S.C. § 1692g. The systems, computer software,
application, or other technology used by Axiom to generate the correspondence at issue in this
case has nothing to do with Plaintiffs limited claims. On balance, such information is neither
relevant to Plaintiffs claims nor proportional to the parties' respective needs, given the claims at
issue and Axiom's defenses to those claims.

By way of further response, Axiom objects to this Interrogatory on the basis that it seeks
information that is confidential and proprietary to Axiom and maintained by Axiom as trade
secrets. The public dissemination of such information (or the public description thereof) would
make its systems, computer software, applications, or other technology it uses or employs available
to its competitors, thus divesting Axiom of the benefit of its investment in the creation and
promulgation of such systems, computer software, application, or other technology.

REASON: Defendant first objects to this Interrogatory by claiming that it did not attempt to collect
upon Plaintiff’s account. “Whether a communication was sent ‘in connection with’ an attempt to
collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph
P’Ships, 577 F.3d 790, 798 (7th Cir. 2009). Consequently, it is improper for Defendant to refuse
to answer this Interrogatory by unilaterally claiming that it did not attempt to collect from Plaintiff.
The question of whether or not Defendant attempted to collect from Plaintiff is for the finder of
fact, not Defendant.

Defendant then claims that this Interrogatory is neither relevant nor proportional to the instant
action. To support its position, Defendant contends that the technology used to generate the
letter(s) at issue is not relevant to Plaintiff’s claims that Defendant failed to include information it
was required to disclose pursuant to the FDCPA. The information requested in this Interrogatory
is relevant to Plaintiff’s case as it is necessary for Plaintiff to become familiar with the tools used
by Defendant to generate its letter(s) to consumers and discover the reason for Defendant’s failure
to comply with the FDCPA. Moreover, as Defendant intends to argue that it did not attempt to
collect from Plaintiff, then it is relevant for Plaintiff to obtain information regarding Defendant’s
collection system and practices in order to learn how Defendant communicates with debtors who
will be targeted for collection, and how Defendant distinguishes them from consumers who are
merely informed that a debt was assigned. Furthermore, Plaintiff plainly limited the scope of
discovery in his instructions by establishing the relevant timeframe of discovery as May 1, 2019
through the present (see a true and accurate copy of Plaintiff’s First Set of Interrogatories, which
contain the definitions and instructions for all of Plaintiff’s discovery requests, hereto attached as
Exhibit “B”). Therefore, Defendant’s objection based on proportionality is baseless.

In a last ditch effort, Defendant also objects to this Interrogatory by proclaiming that the
information sought by Plaintiff is confidential, proprietary, and a maintained trade secret. Such

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broad objections have been ruled as improper. See Sliwa v. Bright Home Networks, LLC, 2018
U.S. Dist. LEXIS 218993 (M.D. Fla. Feb. 14, 2018). Plaintiff has communicated his willingness
to agree to a protective order, but Defendant refused to comply with discovery due to its other
objections.

20. INTERROGATORY: Identify how the information regarding Plaintiff, including but not
limited to Plaintiffs personal information and the information regarding purported debts or
accounts, was inputted into the collection letters sent to Plaintiff.

RESPONSE: Objection. Axiom objects to Plaintiffs characterization of the correspondence it sent
to Plaintiff as a "collection letter" because it was not an attempt to collect Plaintiffs Account.
Axiom also objects to this Interrogatory on the basis that it seeks information that is neither
relevant nor proportional to the needs of the case. The sole issue for determination in this case is
whether Axiom violated the FDCPA by neglecting to identify itself as a "debt collector" and
provide disclosures required by 15 U.S.C. § 1692g. The method by which the information
contained within the correspondence at issue was inputted into that correspondence has nothing to
do with Plaintiffs limited claims. On balance, such information is neither relevant to Plaintiffs
claims nor proportional to the parties' respective needs, given the claims at issue and Axiom's
defenses to those claims.

By way of further response, Axiom objects to this Interrogatory on the basis that it seeks
information related to Axiom's policies and procedures that is confidential and proprietary to
Axiom and maintained by Axiom as trade secrets. The public dissemination of such information
(or the public description thereof) would make its policies and procedures available to its
competitors, thus divesting Axiom of the benefit of its investment in the creation and promulgation
of such policies and procedures.

REASON: Defendant first objects to this Interrogatory by claiming that it did not attempt to collect
upon Plaintiff’s account. “Whether a communication was sent ‘in connection with’ an attempt to
collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph
P’Ships, 577 F.3d 790, 798 (7th Cir. 2009). Consequently, it is improper for Defendant to refuse
to answer this Interrogatory by unilaterally claiming that it did not attempt to collect from Plaintiff.
The question of whether or not Defendant attempted to collect from Plaintiff is for the finder of
fact, not Defendant.

Defendant then claims that this Interrogatory is neither relevant nor proportional to the instant
action. To support its position, Defendant contends that the methods used to input information to
its the letter(s) is not relevant to Plaintiff’s claims that Defendant failed to include information it
was required to disclose pursuant to the FDCPA. The information requested in this Interrogatory
is relevant to Plaintiff’s case as it is necessary for Plaintiff to become familiar with the methods
and tools used by Defendant to generate its letter(s) to consumers and discover the reason for
Defendant’s failure to comply with the FDCPA. Moreover, as Defendant intends to argue that it


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did not attempt to collect from Plaintiff, then it is relevant for Plaintiff to obtain information
regarding Defendant’s collection system and practices in order to learn how Defendant
communicates with debtors who will be targeted for collection, and how Defendant distinguishes
them from consumers who are merely informed that a debt was assigned. Furthermore, Plaintiff
plainly limited the scope of discovery in his instructions by establishing the relevant timeframe of
discovery as May 1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objection
based on proportionality is baseless.

In a last ditch effort, Defendant also objects to this Interrogatory by proclaiming that the
information sought by Plaintiff is confidential, proprietary, and a maintained trade secret. Such
broad objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff
has communicated his willingness to agree to a protective order, but Defendant refused to comply
with discovery due to its other objections.

21. INTERROGATORY: Identify all of the information you include in Collection Notices You
send to consumers relating to collection of a debt.

RESPONSE: Objection. Axiom objects to this Interrogatory on the basis that it seeks information
that is neither relevant nor proportional to the needs of the case. In this Interrogatory, Plaintiff asks
Axiom to identify all information it includes in any written communication, correspondence, note,
letter, or other documents it sent to any consumer relating to the collection of any debt or account
over an indefinite period. The Interrogatory is not limited to the information included in the
correspondence at issue in this case.

REASON: Defendant claims that this Interrogatory is neither relevant nor proportional to the
instant action. However, Defendant asserts in other requests and in Defendant’s Motion that it did
not attempt to collect from Plaintiff. Therefore, it is relevant for Plaintiff’s case to know what sort
type of information Defendant includes in collection notices in order to contrast it with the letters
mailed to Plaintiff. Defendant’s relevance and proportionality objections are meritless as this
Interrogatory plainly asks Defendant to describe what information it includes in collection notices
mailed to consumers. It is evident that this Interrogatory is relevant and proportional for
determining whether Defendant attempted to collect from Plaintiff. Moreover, this Interrogatory
is relevant and proportional as the answer could have significant implications for the analysis of
Plaintiff’s damages under 15 U.S.C. § 1692k.

23. INTERROGATORY: Identify all of the step(s) You take to ensure that You properly disclose
to a consumer that You are a debt collector in the Collection Letters You mail to them.

RESPONSE: Objection. Axiom objects to this Interrogatory on the basis that it seeks information
that is neither relevant nor proportional to the needs of the case. In this Interrogatory, Plaintiff
seeks information related to the steps it takes to ensure that it properly discloses to any consumer
that it is a debt collector in any communication, correspondence, note, letter, or other documents
it sent regarding any debt or account over an indefinite period.

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By way of further response, Axiom objects to this Interrogatory on the basis that it seeks
information related to Axiom's policies and procedures which are proprietary and confidential to
Axiom and maintained by Axiom as trade secrets. The public dissemination of such information
(or the public description thereof) would make Axiom's policies and procedures available to its
competitors, thus divesting Axiom of the benefit of its investment in the creation and promulgation
of such policies and procedures.

REASON: Defendant claims that this Interrogatory is neither relevant nor proportional to the
instant action. One of Plaintiff’s allegations is that Defendant violated the FDCPA by failing to
disclose itself as a debt collector. This Interrogatory plainly asks Defendant to identify its
procedures for ensuring that the aforementioned disclosure is made when communicating with
consumers. This Interrogatory is relevant and proportional as it is specifically related to a precise
allegation in Plaintiff’s Complaint.

In a last ditch effort, Defendant also objects to this Interrogatory by proclaiming that the
information sought by Plaintiff is confidential, proprietary, and a maintained trade secret. Such
broad objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff
has communicated his willingness to agree to a protective order, but Defendant refused to comply
with discovery due to its other objections.

    Plaintiff’s Requests for Production of Documents (Attached Hereto in its Entirety as
                                        Exhibit “C”)

7. REQUEST: All documents regarding how You determine the layout of Your collection letters.

RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
information that is neither relevant nor proportional to the needs of the case. The layout of the
letters is not in dispute, nor is the absence of language identifying Axiom as a “debt collector.” As
such, documents regarding Axiom’s development of the layout of its letters is irrelevant to
Plaintiff’s limited claims and to Axiom’s defenses to those claims. The manner in which Axiom
designs its letters has no bearing whatsoever on the narrow issues in this case.

Axiom further objects to this Request as inappropriately broad. Plaintiff seeks all documents
related to the creation of any written communication, correspondence, note, letter, or other
document sent to any person or entity regarding the collection or attempted collection of any debt
over an indefinite period. The Request is not limited to the particular correspondence at issue in
this case.

Finally, Axiom objects to this Request on the basis that is seeks documents related to Axiom’s
policies and procedures that are confidential and proprietary to Axiom and maintained by Axiom
as trade secrets. The public dissemination of such information (or the public description thereof)
would make Axiom’s policies and procedures available to its competitors, thus divesting it of the
benefit of its investment in the creation and promulgation of such policies and procedures.

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REASON: Defendant claims that this Request is neither relevant nor proportional to the instant
action. To support its position, Defendant contends that the layout of its the letter(s) is not relevant
to Plaintiff’s claims that Defendant failed to include information it was required to disclose
pursuant to the FDCPA. The documents(s) requested in this Request is relevant to Plaintiff’s case
as it is necessary for Plaintiff to become familiar with the methods and tools used by Defendant to
generate its letter(s) to consumers in order to determine the reason for Defendant’s failure to
comply with the FDCPA. Moreover, as Defendant intends to argue that it did not attempt to collect
from Plaintiff, then it is relevant for Plaintiff to obtain information regarding Defendant’s
collection system and practices in order to learn how Defendant communicates with debtors who
will be targeted for collection, and how Defendant distinguishes them from consumers who are
merely informed that a debt was assigned. Furthermore, Plaintiff plainly limited the scope of
discovery in his instructions by establishing the relevant timeframe of discovery as May 1, 2019
through the present (see Exhibit B). Therefore, Defendant’s objection based on proportionality is
baseless.

Defendant then objects on the basis that this Request is “inappropriately broad.” Defendant either
used an inapplicable boilerplate objection or is reading information not contained in this Request.
Defendant asserted that Plaintiff “seeks all documents related to the creation of any written
communication, correspondence, note, letter, or other document sent to any person or entity
regarding the collection or attempted collection of any debt over an indefinite period.”

In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
communicated his willingness to agree to a protective order, but Defendant refused to comply with
discovery due to its other objections.

8. REQUEST: All manuals, memoranda, instructions, and other documents that discuss, describe,
or set forth standards, criteria, guidelines, policies, or practices relating to compliance with the
Fair Debt Collection Practices Act (“FDCPA”).

RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
information that is neither relevant nor proportional to the needs of the case. The sole issue for
determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request
essentially seeks the entirety of Axiom’s compliance management system, the overwhelming
majority of which has nothing to do with the limited claims Plaintiff makes in this case. On
balance, such information is neither relevant to Plaintiff’s claims nor proportional to the parties’
respective needs, given the claims at issue and Axiom’s defenses to those claims.

For similar reasons, Axiom objects to this Request as overly broad and unduly burdensome. In this
Request, Plaintiff seeks all manuals, memoranda, instructions, or other documents that discuss,


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describe, or set forth standards, criteria, guidelines, policies, or practicing relating to compliance
with any provision of the FDCPA over an indefinite period. The Request is not limited to the any
specific provisions of the FDCPA, much less the provisions of the FDCPA at issue in this case. It
would be incredibly time-consuming and costly for Axiom to produce all manuals, memoranda,
instructions, and other documents that discuss, describe, or set forth standards, criteria, guidelines,
policies, or practices relating to compliance with any provision of the FDCPA over an indefinite
period. The costs and expense of doing so would substantially outweigh any limited benefit
Plaintiff might derive from obtaining these documents.

Furthermore, even if this Request were limited to the specific provisions of the FDCPA framed by
the pleadings, Axiom has not asserted a bona fide error defense to Plaintiff’s claims and, as such,
any documents responsive to a narrowed request would be irrelevant and not proportional to the
needs of the case.

Finally, Axiom objects to this Request on the basis that is seeks documents related to Axiom’s
policies and procedures that are confidential and proprietary to Axiom and maintained by Axiom
as trade secrets. The public dissemination of such information (or the public description thereof)
would make Axiom’s policies and procedures available to its competitors, thus divesting it of the
benefit of its investment in the creation and promulgation of such policies and procedures.

REASON: Defendant asserts that this Request is neither relevant nor proportional to Plaintiff’s
claims. In this Request, Plaintiff simply asks Defendant to produce its internal documents
regarding compliance with the FDCPA. Plaintiff brought a cause of action alleging that Defendant
did not comply with the FDCPA by failing to include necessary disclosures. Therefore, it is wholly
relevant for Plaintiff to obtain documents from Defendant that outline its policies and procedures
regarding FDCPA compliance. Defendant mistakenly believes that these policies and procedures
are not relevant because it did not raise a bona fide error defense. This belief is misplaced and
erroneous as it ignores the fact that the primary reason why Defendant’s policies and procedures
are relevant is because Plaintiff alleged that Defendant engaged conduct that was noncompliant
with the FDCPA. Moreover, Defendant’s policies and procedures are inherently relevant for the
damages analysis under 15 U.S.C. § 1692k. The FDCPA is a strict liability statute. Thus, whether
or not a debt collector maintains policies and procedures to comply with the law is relevant for a
consumer to prosecute his rights pursuant to the FDCPA. Furthermore, Plaintiff plainly limited the
scope of discovery in his instructions by establishing the relevant timeframe of discovery as May
1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objections based on
proportionality and that compliance would be unduly burdensome are baseless.

Defendant also objects to this Request by proclaiming that the documents sought by Plaintiff are
confidential, proprietary, and maintained trade secrets. Such broad objections have been ruled as
improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has communicated his willingness
to agree to a protective order, but Defendant refused to comply with discovery due to its other
objections.

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9. REQUEST: Any and all documented data retention policies and a description of the data
retention policies actually in place.

RESPONSE: Objection. Axiom objects to this Request on the same bases raised in its response
to Request No. 8, supra. This Request seeks any documented data retention policies that Axiom
has ever employed or used over an indefinite period. Furthermore, Plaintiff’s claims rely entirely
upon two letters Axiom sent to Plaintiff advising Plaintiff of Axiom’s sale of Plaintiff’s account.
There are no allegations in any of the pleadings that Axiom failed to retain, lost, destroyed, or
otherwise misplaced any data related to Plaintiff’s account.

By way of further response, Axiom objects to this Request on the basis that is seeks documents
related to Axiom’s policies and procedures that are confidential and proprietary to Axiom and
maintained by Axiom as trade secrets. The public dissemination of such information (or the public
description thereof) would make Axiom’s policies and procedures available to its competitors,
thus divesting it of the benefit of its investment in the creation and promulgation of such policies
and procedures.

REASON: Defendant asserts that this Request is neither relevant nor proportional to Plaintiff’s
claims. In his Complaint, Plaintiff alleged that “the contents of Defendant’s letter are confusing as
to the origins and chain of ownership of the subject consumer debt.” [Dkt. #1]. Plaintiff made the
aforementioned allegation because Defendant’s letter indicated that the subject debt was sold and
purchase on multiple occasions, but the contents and structure of the Defendant’s letter created
confusion as to the chain of ownership of the subject debt. Consequently, Defendant’s data
retention policies are relevant to examine Defendant’s protocols for retaining information for
Defendant’s regulatory compliance when a debt is either purchased by Defendant or placed with
Defendant for collection. Moreover, Defendant’s policies and procedures are inherently relevant
for the damages analysis under 15 U.S.C. § 1692k. The FDCPA is a strict liability statute. Thus,
whether or not a debt collector maintains policies and procedures to comply with the law is relevant
for a consumer to prosecute his rights pursuant to the FDCPA. Furthermore, Plaintiff plainly
limited the scope of discovery in his instructions by establishing the relevant timeframe of
discovery as May 1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objection
based on proportionality is baseless.

Defendant also objects to this Request by proclaiming that the documents sought by Plaintiff are
confidential, proprietary, and maintained trade secrets. Such broad objections have been ruled as
improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has communicated his willingness
to agree to a protective order, but Defendant refused to comply with discovery due to its other
objections.

11. REQUEST: Copies of the operation manual(s) for all systems and/or technology employed
by You or any third parties to create the collection letters You sent to Plaintiff during the relevant
time period.

RESPONSE: Objection. Axiom first objects to Plaintiff’s characterization of the correspondence
at issue in the case as a “collection letter” because the correspondence was not an attempt to collect
Plaintiff’s account. Axiom also objects to this Request on the basis that it seeks documents and

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 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request seeks
 the operation manual(s) for all systems and technology employed by Axiom to create the
 correspondence at issue in this case which has nothing to do with the limited claims Plaintiff makes
 in this case. On balance, such information is neither relevant to Plaintiff’s claims nor proportional
 to the parties’ respective needs, given then claims at issue and Axiom’s defenses to those claims.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies, procedures, technology, and systems, which are confidential and
 proprietary to Axiom and maintained by Axiom as trade secrets. The public dissemination of such
 information (or the public description thereof) would make Axiom’s policies, procedures,
 technology, and systems available to its competitors, thus divesting it of the benefit of its
 investment in the creation and promulgation of such policies, procedures, technology, and systems.

 REASON: Defendant first objects to this Request by claiming that it did not attempt to collect
 upon Plaintiff’s account. “Whether a communication was sent ‘in connection with’ an attempt to
 collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph
 P’Ships, 577 F.3d 790, 798 (7th Cir. 2009). Consequently, it is improper for Defendant to refuse
 to answer this Request by unilaterally claiming that it did not attempt to collect from Plaintiff. The
 question of whether or not Defendant attempted to collect from Plaintiff is for the finder of fact,
 not Defendant.

 Defendant then claims that this Request is neither relevant nor proportional to the instant action.
 To support its position, Defendant contends that the manuals of the technology used to generate
 the letter(s) at issue is not relevant to Plaintiff’s claims that Defendant failed to include information
 it was required to disclose pursuant to the FDCPA. The information requested in this Request is
 relevant to Plaintiff’s case as it is necessary for Plaintiff to become familiar with the tools used by
 Defendant to generate its letter(s) to consumers and discover the reason for Defendant’s failure to
 comply with the FDCPA. Moreover, as Defendant intends to argue that it did not attempt to collect
 from Plaintiff, then it is relevant for Plaintiff to obtain information regarding Defendant’s
 collection system and practices in order to learn how Defendant communicates with debtors who
 will be targeted for collection, and how Defendant distinguishes them from consumers who are
 merely informed that a debt was assigned. Furthermore, Plaintiff plainly limited the scope of
 discovery in his instructions by establishing the relevant timeframe of discovery as May 1, 2019
 through the present (see Exhibit B). Therefore, Defendant’s objection based on proportionality is
 baseless.

 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

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 14. REQUEST: Please provide all documents relating to the technology employed by Your
 collections department to send the collection letters to Plaintiff.

 RESPONSE: Objection. Axiom first objects to Plaintiff’s characterization of the correspondence
 at issue in the case as a “collection letter” because the correspondence was not an attempt to collect
 Plaintiff’s account. Axiom also objects to this Request on the basis that is seeks documents and
 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request seeks
 all documents relating to the technology employed by Axiom to create and send this
 correspondence at issue to Plaintiff which has nothing to do with the limited claims Plaintiff makes
 in this case. On balance, such information is neither relevant to Plaintiff’s claims nor proportional
 to the parties’ respective needs, given the claims at issue and Axiom’s defenses to those claims.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies, procedures, and technology that are confidential and proprietary to
 Axiom and maintained by Axiom as trade secrets. The public dissemination of such information
 (or the public description thereof) would make Axiom’s policies, procedures, and technology
 available to its competitors, thus divesting it of the benefit of its investment in the creation and
 promulgation of such policies, procedures, and technology.

 REASON: Defendant first objects to this Request by claiming that it did not attempt to collect
 upon Plaintiff’s account. “Whether a communication was sent ‘in connection with’ an attempt to
 collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph
 P’Ships, 577 F.3d 790, 798 (7th Cir. 2009). Consequently, it is improper for Defendant to refuse
 to answer this Request by unilaterally claiming that it did not attempt to collect from Plaintiff. The
 question of whether or not Defendant attempted to collect from Plaintiff is for the finder of fact,
 not Defendant.

 Defendant then claims that this Request is neither relevant nor proportional to the instant action.
 To support its position, Defendant contends that the documents related to the technology used to
 generate the letter(s) at issue are not relevant to Plaintiff’s claims that Defendant failed to include
 information it was required to disclose pursuant to the FDCPA. The information requested in this
 Request is relevant to Plaintiff’s case as it is necessary for Plaintiff to become familiar with the
 tools used by Defendant to generate its letter(s) to consumers and discover the reason for
 Defendant’s failure to comply with the FDCPA. Moreover, as Defendant intends to argue that it
 did not attempt to collect from Plaintiff, then it is relevant for Plaintiff to obtain information
 regarding Defendant’s collection system and practices in order to learn how Defendant
 communicates with debtors who will be targeted for collection, and how Defendant distinguishes
 them from consumers who are merely informed that a debt was assigned. Furthermore, Plaintiff
 plainly limited the scope of discovery in his instructions by establishing the relevant timeframe of
 discovery as May 1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objection
 based on proportionality is baseless.


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 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

 15. REQUEST: Please provide Your internal procedures or manual(s) relating to Your debt
 collection activities.

 RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request seeks
 the entirety of Axiom’s internal policies, procedures, and manuals relating to any “debt collection
 activity” that Axiom has employed over an indefinite period, the overwhelming majority of which
 has nothing to do with the limited claims Plaintiff makes in this case. On balance, such information
 is neither relevant to Plaintiff’s claims nor proportional to the parties’ respective needs, given the
 claims at issue and Axiom’s defenses to those claims.

 For similar reasons, Axiom objects to this Request as overly broad and unduly burdensome. In this
 Request, Plaintiff seeks all internal procedures and manuals related to any debt collection activity
 ever employed or used by Axiom over an indefinite period. It is neither limited to procedures and
 manuals used or employed by Axiom in the collection of Plaintiff’s Account nor the procedures
 or manuals that may have been used to create the correspondence at issue in this case. It would be
 incredibly time-consuming can costly for Axiom to produce all internal policies, procedures, and
 manuals relating to any “debt collection activity” that Axiom has employed over an indefinite
 period. The cost and expense of doing so would substantially outweigh any limited benefit Plaintiff
 might derive from obtaining these documents.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies and procedures that are confidential and proprietary to Axiom and
 maintained by Axiom as trade secrets. The public dissemination of such information (or the public
 description thereof) would make Axiom’s policies and procedures available to its competitors,
 thus divesting it of the benefit of its investment in the creation and promulgation of such policies
 and procedures.

 REASON: Defendant claims that this Request is neither relevant nor proportional to the instant
 action. To support its position, Defendant contends that its internal manual related to debt
 collections are not relevant to Plaintiff’s claims that Defendant failed to include information it was
 required to disclose pursuant to the FDCPA. The information requested in this Request is relevant
 to Plaintiff’s case as it is necessary for Plaintiff to become familiar with Defendant’s collection
 procedures to determine the reason for its failure to comply with the FDCPA. Moreover, as
 Defendant intends to argue that it did not attempt to collect from Plaintiff, then it is relevant for
 Plaintiff to obtain information regarding Defendant’s collection system and practices in order to
 learn how Defendant communicates with debtors who will be targeted for collection, and how

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 Defendant distinguishes them from consumers who are merely informed that a debt was assigned.
 Additionally, Defendant’s policies and procedures are inherently relevant for the damages analysis
 under 15 U.S.C. § 1692k. The FDCPA is a strict liability statute. Thus, whether or not a debt
 collector maintains policies and procedures to comply with the law is relevant for a consumer to
 prosecute his rights pursuant to the FDCPA. Furthermore, Plaintiff plainly limited the scope of
 discovery in his instructions by establishing the relevant timeframe of discovery as May 1, 2019
 through the present (see Exhibit B). Therefore, Defendant’s objection based on proportionality is
 baseless.

 Defendant also objects to this Request by proclaiming that the documents sought by Plaintiff are
 confidential, proprietary, and maintained trade secrets. Such broad objections have been ruled as
 improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has communicated his willingness
 to agree to a protective order, but Defendant refused to comply with discovery due to its other
 objections.

 16. REQUEST: Please provide all documents relating to the technology employed by Your
 collections department to create the collection letters You sent to Plaintiff.

 RESPONSE: Objection. Axiom first objects to Plaintiff’s characterization of the correspondence
 at issue in this case as a “collection letter” because the correspondence was not an attempt to collect
 Plaintiff’s Account. Axiom also objects to this Request on the basis that it seeks documents and
 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. All documents related
 to the technology employed by Axiom to create the correspondence it sent to Plaintiff has nothing
 to do with the limited claims Plaintiff makes in this case. On balance, such information is neither
 relevant to Plaintiff’s claims nor proportional to the parties’ respective needs, given the claims at
 issue and Axiom’s defenses to those claims.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies, procedures, and technology that are confidential and proprietary to
 Axiom and maintained by Axiom as trade secrets. The public dissemination of such information
 (or the public description thereof) would make Axiom’s policies, procedures, and technology
 available to its competitors, thus divesting it of the benefit of its investment in the creation and
 promulgation of such policies, procedures, and technology.

 REASON: Defendant first objects to this Request by claiming that it did not attempt to collect
 upon Plaintiff’s account. “Whether a communication was sent ‘in connection with’ an attempt to
 collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph
 P’Ships, 577 F.3d 790, 798 (7th Cir. 2009). Consequently, it is improper for Defendant to refuse
 to answer this Request by unilaterally claiming that it did not attempt to collect from Plaintiff. The
 question of whether or not Defendant attempted to collect from Plaintiff is for the finder of fact,
 not Defendant.


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 Defendant then claims that this Request is neither relevant nor proportional to the instant action.
 To support its position, Defendant contends that the documents related to the technology used to
 generate the letter(s) at issue are not relevant to Plaintiff’s claims that Defendant failed to include
 information it was required to disclose pursuant to the FDCPA. The information requested in this
 Request is relevant to Plaintiff’s case as it is necessary for Plaintiff to become familiar with the
 tools used by Defendant to generate its letter(s) to consumers and discover the reason for
 Defendant’s failure to comply with the FDCPA. Moreover, as Defendant intends to argue that it
 did not attempt to collect from Plaintiff, then it is relevant for Plaintiff to obtain information
 regarding Defendant’s collection system and practices in order to learn how Defendant
 communicates with debtors who will be targeted for collection, and how Defendant distinguishes
 them from consumers who are merely informed that a debt was assigned. Furthermore, Plaintiff
 plainly limited the scope of discovery in his instructions by establishing the relevant timeframe of
 discovery as May 1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objection
 based on proportionality is baseless.

 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

 17. REQUEST: Any and all documents pertaining to Your policies and procedures as to past due
 accounts, including any attempts to collect debts, collection of monies and/or debts and/or past
 due accounts.

 RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request seeks
 all documents pertaining to any policy or procedure employed by Axiom to collect any sum of
 money, debt, or past due account over an indefinite period, the overwhelming majority of which
 has nothing to do with the limited claims Plaintiff makes in this case. On balance, such information
 is neither relevant to Plaintiff’s claims nor proportional to the parties’ respective needs, given the
 claims at issue and Axiom’s defenses to those claims.

 For similar reasons, Axiom objects to this Request as overly broad and unduly burdensome. This
 Request seeks all documents pertaining to any policies or procedures employed or used by Axiom
 to collect to collect any sum of money, debt, or past due account over an indefinite period. It is
 neither limited to the particular policies and procedures Axiom may have employed in the
 collection of Plaintiff’s account nor to the creation of the particular correspondence at issue. It
 would be incredibly time-consuming and costly for Axiom to produce all documents pertaining to
 any policies or procedures employed or used by Axiom to collect to collect any sum of money,
 debt, or past due account over an indefinite period. The cost and expense of doing so would
 substantially outweigh any limited benefit Plaintiff might derive from obtaining these documents.


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 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies and procedures that are confidential and proprietary to Axiom and
 maintained by Axiom as trade secrets. The public dissemination of such information (or the public
 description thereof) would make Axiom’s policies and procedures available to its competitors,
 thus divesting it of the benefit of its investment in the creation and promulgation of such policies
 and procedures.

 REASON: Defendant claims that this Request is neither relevant nor proportional to the instant
 action. Defendant’s relevancy objection to this Request for policies and procedures on collecting
 past due accounts is inconsistent with Defendant’s assertion that it did to attempt to collect from
 Plaintiff. Defendant has repeatedly proclaimed that it did not attempt to collect from Plaintiff in
 its Answer, throughout its discovery responses, and in Defendant’s Motion, which this Honorable
 court denied. Therefore, Defendant’s policies and procedures on collecting upon past due accounts
 are clearly relevant to compare Defendant’s collection practices to how it engaged Plaintiff in the
 instant matter. Moreover, Defendant’s policies and procedures are inherently relevant for the
 damages analysis under 15 U.S.C. § 1692k. The FDCPA is a strict liability statute. Thus, whether
 or not a debt collector maintains policies and procedures to comply with the law is relevant for a
 consumer to prosecute his rights pursuant to the FDCPA. Furthermore, Plaintiff plainly limited the
 scope of discovery in his instructions by establishing the relevant timeframe of discovery as May
 1, 2019 through the present (see Exhibit B). Therefore, Defendant’s objections based on
 proportionality and that compliance with this Request would be unduly burdensome are baseless.

 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

 21. REQUEST: Please provide any and all documents outlining or addressing Your policies and
 procedures as they relate the information You include in Collection Notices You send to
 consumers relating to collection of a debt.

 RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
 information that is neither relevant nor proportional to the needs of the case. The sole issue for
 determination in this case is whether Axiom violated the FDCPA by neglecting to identify itself
 as a “debt collector” and provide disclosures required by 15 U.S.C. § 1692g. This Request seeks
 any and all documents outlining or addressing any policy or procedure that related to any
 “collection notice” Axiom sent to any consumer regarding any account over an indefinite period,
 the overwhelming majority of which has nothing to do with the limited claims Plaintiff makes in
 this case. On balance, such information is neither relevant to Plaintiff’s claims nor proportional to
 the parties’ respective needs, given the claims at issue and Axiom’s defenses to those claims.

 For similar reasons, Axiom objects to this Request as overly broad and unduly burdensome. This
 Request seeks all documents that outline or address any policy or procedure that relates to any
 information that Axiom includes in any “collection notice” it sent to any consumer relating to the

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 collection of any debt over and indefinite period. It is neither limited to the policies and procedures
 Axiom may have employed to create any “collection notice” sent to Plaintiff nor to the policies
 and procedures Axiom may have employed to create the correspondence at issue in this case. It
 would be incredibly time-consuming and costly for Axiom to produce all documents that outline
 or address any policy or procedure that relates to any information that Axiom includes in any
 “collection notice” it sent to any consumer relating to the collection of any debt over and indefinite
 period. The costs and expense of doing so would substantially outweigh any limited benefit
 Plaintiff might derive from obtaining these documents.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies and procedures that are confidential and proprietary to Axiom and
 maintained by Axiom as trade secrets. The public dissemination of such information (or the public
 description thereof) would make Axiom’s policies and procedures available to its competitors,
 thus divesting it of the benefit of its investment in the creation and promulgation of such policies
 and procedures.

 REASON: Defendant claims that this Request is neither relevant nor proportional to the instant
 action. Defendant’s relevancy objection to this Request for policies and procedures on collection
 notices is inconsistent with Defendant’s assertion that it did to attempt to collect from Plaintiff.
 Defendant has repeatedly proclaimed that it did not attempt to collect from Plaintiff in its Answer,
 throughout its discovery responses, and in Defendant’s Motion, which this Honorable court denied.
 Therefore, Defendant’s policies and procedures on collection notices are clearly relevant to
 compare Defendant’s collection practices to how it engaged Plaintiff in the instant matter.
 Moreover, Defendant’s policies and procedures are inherently relevant for the damages analysis
 under 15 U.S.C. § 1692k. The FDCPA is a strict liability statute. Thus, whether or not a debt
 collector maintains policies and procedures to comply with the law is relevant for a consumer to
 prosecute his rights pursuant to the FDCPA. Furthermore, Plaintiff plainly limited the scope of
 discovery in his instructions by establishing the relevant timeframe of discovery as May 1, 2019
 through the present (see Exhibit B). Therefore, Defendant’s objections based on proportionality
 and that compliance with this Request would be unduly burdensome are baseless.

 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

 22. REQUEST: Please provide any and all documents outlining or addressing Your policies and
 procedures as they relate to appraising a consumer of his or her right under 15 U.S.C § 1692g.

 RESPONSE: Objection. Axiom objects to this Request on the basis that it seeks documents and
 information that are neither relevant nor proportional to the needs of the case. This Request seeks
 all policies and procedures that Axiom employs or employed to appraise any consumer of his or
 her rights under 15 U.S.C. §1692g over an indefinite period. This Request is not limited to the


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 policies and procedures Axiom may have employed to appraise Plaintiff of his rights under 15
 U.S.C. §1692g regarding his underlying account.

 By way of further response, Axiom objects to this Request on the basis that it seeks documents
 related to Axiom’s policies and procedures that are confidential and proprietary to Axiom and
 maintained by Axiom as trade secrets. The public dissemination of such information (or the public
 description thereof) would make Axiom’s policies and procedures available to its competitors,
 thus divesting it of the benefit of its investment in the creation and promulgation of such policies
 and procedures.

 REASON: Defendant claims that this Request is neither relevant nor proportional to the instant
 action. This Request plainly asks Defendant to produce “any and all documents outlining or
 addressing Your policies and procedures as they relate to appraising a consumer of his or her right
 under 15 U.S.C § 1692g.” Yet, Defendant argues that this Request is not relevant because it is “not
 limited to the policies and procedures Axiom may have employed to appraise Plaintiff of his rights
 under 15 U.S.C. §1692g regarding his underlying account.” One of Plaintiff’s allegations is that
 Defendant did not comply with the FDCPA by failing to inform him of his rights under 15 U.S.C.
 §1692g. Therefore, Defendant’s reasoning is a nonstarter. This Request is clearly relevant because
 it is directly tied to one of the core allegations in Plaintiff’s Complaint. Moreover, Defendant’s
 policies and procedures are inherently relevant for the damages analysis under 15 U.S.C. § 1692k.
 The FDCPA is a strict liability statute. Thus, whether or not a debt collector maintains policies and
 procedures to comply with the law is relevant for a consumer to prosecute his rights pursuant to
 the FDCPA. Furthermore, Plaintiff plainly limited the scope of discovery in his instructions by
 establishing the relevant timeframe of discovery as May 1, 2019 through the present (see Exhibit
 B). Therefore, Defendant’s objection based on proportionality is baseless.

 In a last ditch effort, Defendant also objects to this Request by proclaiming that the documents
 sought by Plaintiff are confidential, proprietary, and maintained trade secrets. Such broad
 objections have been ruled as improper. See Sliwa, 2018 U.S. Dist. LEXIS 218993. Plaintiff has
 communicated his willingness to agree to a protective order, but Defendant refused to comply with
 discovery due to its other objections.

                                     MEMPRANDUM OF LAW


    A. SCOPE OF DISCOVERY

    Fed. R. Civ. P. 26(b)(1), as amended effective December 1, 2015, governs the scope of

 discovery in civil cases. The Rule states that generally:

                Parties may obtain discovery regarding any nonprivileged matter that is relevant to
                any party's claim or defense and proportional to the needs of the case, considering
                the importance of the issues at stake in the action, the amount in controversy, the
                parties' relative access to relevant information, the parties' resources, the
                importance of the discovery in resolving the issues, and whether the burden or


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                expense of the proposed discovery outweighs its likely benefit. Information within
                this scope of discovery need not be admissible in evidence to be discoverable.

     A party may file a motion to compel discovery pursuant to Fed. R. Civ. P. 37(a). Rulings on

 motions to compel discovery under Rule 37(a) are committed to the sound discretion of the trial

 court. See NetJets Aviation, Inc. v. Peter Sleiman Dev. Grp., LLC, No. 3:10-cv-483-J-32MCR,

 2011 U.S. Dist. LEXIS 148507, 2011 WL 6780879, at *2 (M.D. Fla. Dec. 27,

 2011) (citing Commercial Union Ins. Co. v. Westrope, 730 F.2d 729, 731 (11th Cir. 1984)).

    Notably, “[t]he recent changes to the Federal Rules of Civil Procedure (in particular, Rule 26),

 although substantive and substantial, do not change the definition of relevance.” Steel Erectors,

 Inc. v. AIM Steel Int'l, Inc., 312 F.R.D. 673, 676 n.4 (S.D. Ga. 2016). The scope of permissible,

 relevant discovery is determined by the parties’ claims and defenses. Chudasama v. Mazda Motor

 Corp., 123 F.3d 1353, 1368 n.37 (11th Cir. 1997). The proponent of a motion to compel discovery

 bears the initial burden of proving that the information sought is relevant. Bright v. Frix, No. 8:12-

 cv-1163-T-35MAP, 2016 U.S. Dist. LEXIS 7690, 2016 WL 1011441, at *1 (M.D. Fla. Jan. 22,

 2016). “Evidence is relevant if it has any tendency to make the existence of any fact or consequence

 more or less probable than it would be without the evidence.” Gonzalez v. ETourandTravel, Inc.,

 No. 6:13-cv-827-Orl-36TBS, 2014 U.S. Dist. LEXIS 40180, 2014 WL 1250034, at *2 (M.D. Fla.

 Mar. 26, 2014) (citing United States v. Capers, 708 F.3d 1286, 1308 (11th Cir. 2013)).

    In addition to relevance, discovery must be proportional “to the needs of the case.” Fed. R.

 Civ. P. 26(b)(1). In making this determination, the courts are guided by the non-exclusive list of

 factors set forth in Rule 26(b)(1). The proportionality analysis begins with a review of the actual

 claims and defenses in the case, “and a consideration of how and to what degree the requested

 discovery bears on those claims and defenses.” Koster v. Landmark Am. Ins. Co., No. 5:14-CV-




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 689-OC-37PRL, 2016 U.S. Dist. LEXIS 66656, 2016 WL 3014605, at *2 (M.D. Fla. May 20,

 2016).

          a. DEFENDANT’S RELEVANCY           AND   PROPORTIONALITY OBJECTIONS            SHOULD BE
             OVERRULED

    As discussed in further detail above, Defendant employed a litany of boilerplate and often-

 contradictory objections based on relevancy and proportionality. In essence, all of Plaintiff’s

 discovery requests reflected above ask Defendant to either explain and/or produce its collection

 manuals, and policies and procedures. Plaintiff contends that he has met his burden to dispel

 Defendant’s relevancy objections. As for Defendant’s proportionality objections, Plaintiff clearly

 stated that the relevant period for discovery was from May 1, 2019 through the present.

    B. THE FDCPA’S “ATTEMPT TO COLLECT” FACTOR

    The FDCPA is a consumer protection statute designed to “eliminate abusive debt collection

 practices by debt collectors.” Suesz v. Med-1 Solutions, LLC, 757 F.3d 636, 639 (7th Cir. 2014).

 Congress expressly found that “there is abundant evidence of the use of abusive, deceptive, and

 unfair debt collection practices by many debt collectors.” Baldwin v. McCalla, Raymer, Padrick,

 Cobb, Nichols & Clark, L.L.C., 1999 WL 284788, at *3 (N.D. Ill. 1999) citing 15 U.S.C. §1692(a).

    For the FDCPA to apply, “two threshold criteria must be met. First, the defendant must qualify

 as a ‘debt collector,’ which the FDCPA defines as any person who ‘uses any instrumentality of

 interstate commerce or the mails in any business the principal purpose of which is the collection

 of any debts’ or who ‘regularly collects or attempts to collect, directly or indirectly, debts owed or

 due or asserted to be owed or due another.’ Gburek v. Litton Loan Servicing LP, 614 F.3d 380,

 384 (7th Cir. 2010). “Second, the communication by the debt collector that forms the basis of the

 suit must have been made ‘in connection with the collection of any debt.’” Id. There is no bright-

 line rule for determining whether a communication from a debt collector was made in connection


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 with the collection of any debt. Id. “A court must analyze the nature of the parties’ relationship,

 the presence or absence of a demand for payment, and the purpose and context of the

 communications.” Id. at 395. “Whether a communication was sent ‘in connection with’ an attempt

 to collect a debt is a question of objective fact, to be proven like any other fact.” Ruth v. Triumph

 P’Ships, 577 F.3d 790, 798 (7th Cir. 2009).

         a. DEFENDANT’S OBJECTIONS ON THE CLASSIFICATION                       OF ITS     LETTERS     AS
            COLLECTION ATTEMPTS SHOULD BE OVERRULED

    On multiple instances, Defendant refused to comply with Plaintiff’s discovery requests based

 on its own self-serving factual conclusion that its letters were not attempts to collect from Plaintiff.

 Defendant cannot refuse to comply with discovery through its own conclusion on a fundamental

 FDCPA factor. Plaintiff contends that he has met his burden as reflected above to dispel these

 objections.

    C. PROTECTIVE ORDERS

        Fed. R. Civ. P. 26(c) outlines the available means to protect sensitive information from

 public disclosure. The Rule states the following:

                A party or any person from whom discovery is sought may move for a protective
                order in the court where the action is pending—or as an alternative on matters
                relating to a deposition, in the court for the district where the deposition will be
                taken. The motion must include a certification that the movant has in good faith
                conferred or attempted to confer with other affected parties in an effort to resolve
                the dispute without court action. The court may, for good cause, issue an order to
                protect a party or person from annoyance, embarrassment, oppression, or undue
                burden or expense, including one or more of the following:
                        (A) forbidding the disclosure or discovery;
                        (B) specifying terms, including time and place or the allocation of expenses,
                        for the disclosure or discovery;
                        (C) prescribing a discovery method other than the one selected by the party
                        seeking discovery;
                        (D) forbidding inquiry into certain matters, or limiting the scope of
                        disclosure or discovery to certain matters;
                        (E) designating the persons who may be present while the discovery is
                        conducted;


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                        (F) requiring that a deposition be sealed and opened only on court order;
                        (G) requiring that a trade secret or other confidential research, development,
                        or commercial information not be revealed or be revealed only in a specified
                        way; and
                        (H) requiring that the parties simultaneously file specified documents or
                        information in sealed envelopes, to be opened as the court directs.

         a. PLAINTIFF IS WILLING TO AGREE TO A PROTECTIVE ORDER

    Defendant also refused to comply with discovery by repeatedly claiming that the information

 and/or documents sought by Plaintiff were confidential, proprietary, and maintained trade secrets.

 Fed. R. Civ. P. 26(c), as cited above, provides the answer to Defendant’s concerns. Plaintiff

 communicated his willingness to agree to a protective order in order to minimize Defendant’s

 fears, but Defendant still refused comply with Discovery.

    WHEREFORE, Plaintiff respectfully request the Court enter an order pursuant to Fed. R. Civ.

 Pro. 37(a)(3)(B)(iii) compelling Defendant to immediately respond to Plaintiff’s discovery

 requests and requiring Defendant to pay reasonable costs and fees to Plaintiff associated with its

 delay pursuant Fed. R. Civ. Pro. 37(a)(5)(A).

 Dated: April 3, 2020                                  Respectfully Submitted,

                                                       /s/ Alejandro E. Figueroa
                                                       Alejandro E. Figueroa, Esq.
                                                       Counsel for Plaintiff
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                                                       Lombard, IL 60148
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                                                       alejandrof@sulaimanlaw.com




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                             CERTIFICATE OF CONFERENCE

 WE HEREBY CERTIFY that counsel for the moving party has conferred with opposing counsel
 in a good faith effort to resolve the issues raised by this Motion, and counsel have not yet agreed
 on the resolution of the motion.


                                 CERTIFICATE OF SERVICE

 I, Alejandro E. Figueroa, an attorney, hereby certify that on April 3, 2020, the foregoing MOTION
 TO COMPEL DEFENDANT TO RESPOND TO DISCOVERY AND TO PRODUCE
 DOCUMENTS was filed with the Clerk of the Court of the United States District Court for the
 Middle District of Florida by using the CM/ECF system. I certify that all participants in this case
 are registered CM/ECF users and that service will be accomplished by the CM/ECF system.


                                                             /s/ Alejandro E. Figueroa
                                                             Alejandro E. Figueroa, Esq.
                                                             Counsel for Plaintiff




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